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                        IN THE UNITED STATES DISTRICT COURT
               FOR THE SOUTHERN DISTRICT OF FLORIDA (MIAMI DIVISION)


    UNITED STATES OF AMERICA                                 Case No.: 1:18-cr-20685-KMW

                   v.

    ABRAHAM EDGARDO ORTEGA,

                   Defendant.


        DECLARATION OF KENT A. YALOWITZ IN SUPPORT OF MOTION OF
      PETRÓLEOS DE VENEZUELA, S.A FOR VICTIM STATUS AND RESTITUTION

   I, Kent A. Yalowitz, hereby declare as follows:

          1.      I am a member of the law firm of Arnold & Porter Kaye Scholer LLP, counsel for

   Petróleos de Venezuela, S.A. (PDVSA). I make this declaration to place before the Court certain

   source documents reflecting the internal law of the Bolivarian Republic of Venezuela.

          2.      Attached hereto as Exhibit A is a true and correct copy of the Statute that

   Governs the Transition to Democracy to Reestablish the Full Force and Effect of the Constitution

   of the Bolivarian Republic of Venezuela (Democracy Transition Statute), enacted February 5,

   2019. The document is accompanied by a certified translation of the relevant excerpts.

          3.      Attached hereto as Exhibit B is a true and correct copy of Presidential Decree No.

   3, issued April 4, 2019. The document is accompanied by a certified translation of the relevant

   excerpts.

          I declare under penalty of perjury that the foregoing is true and correct.

   Executed on April 24, 2020
   New York, New York



                                                        Kent A. Yalowitz
